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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF OKLAHOMA

   DON QUARLES, an Individual;       )
   and, QUARLES ACRES, LLC,          )
                                     )
           Plaintiffs,               )
                                     )
   v.                                )                 Case No. 00-CV-913-GKF-PJC
                                     )
   UNITED STATES OF AMERICA,         )                 JURY TRIAL DEMANDED
   ex rel. BUREAU OF INDIAN AFFAIRS; )
   UNITED STATES OF AMERICA,         )
   ex rel. ENVIRONMENTAL             )
   PROTECTION AGENCY; TEXACO,        )
   INC; PHILLIPS PETROLEUM CO.;      )
   CONOCOPHILLIPS CO.; SUN OIL       )
   CO.; LITTLE RIVER ENERGY CO.;     )
   YARHOLA PROD. CO.; SPESS OIL      )
   CO., INC.; THE LINK OIL CO.;      )
   and TONY OIL CO.,                 )
                                     )
           Defendants.               )


         PLAINTIFFS’ MOTION TO RECONSIDER IN LIMINE ORDER, OR
   ALTERNATIVELY TO CONTINUE DAUBERT HEARING AS TO J. BERTON FISHER

          Plaintiffs, Don Quarles and Quarles Acres, LLC, (“Quarles”) submit this Motion to

   Reconsider the Court’s In Limine Order (Dkt.# 402), or alternatively, to Continue the Daubert

   Hearing as to Expert J. Berton Fisher (“Fisher”), and in support thereof hereby state:

          In light of the recent testimony at the June 18, 2007 Daubert Hearing, and this Court’s

   request for additional evidence, Quarles hereby submits visual evidence of the hydrological flow

   of surface and groundwater on Quarles’ property onto Lake Skiatook to which Expert Fisher can

   describe in detailed testimony to this Court at the July 27, 2007 Motion and Daubert Hearing.

   (Exhibit A.)
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           Fisher’s testimony at the June 18, 2007 Daubert Hearing, and his previous exhaustive

   opinions in his expert reports, that oil field wastes and pollutants on Plaintiffs’ property caused

   surface and subsurface soil and water damage can be illustrated by this visual evidence. Fisher is

   expected to testify that the flow of surface water on Quarles’ property from areas of salt scarring,

   soil salinization, brine and petroleum contamination reaches Lake Skiatook. Lake Skiatook is

   down-gradient from Quarles’ property. Also down-gradient from Quarles’ property, the United

   States Government is conducting environmental testing on the soil and water of Osage County.

   The United States Geological Survey (“USGS”) (and other environmental scientists) is involved

   in a multidisciplinary investigation named Osage Skiatook Petroleum Environmental Research

   (“OSPER”) at two named sites “A” and “B”. Soil and water sampling from those sites to date

   show that impacts of produced water and associated hydrocarbons on soil, surface and

   groundwater at both sites and surrounding areas, are widespread and pervasive.1 All wells show

   some degree of contamination from produced water and/or petroleum or its degradation
               2
   products.       This illustrative testimony by Expert Fisher will enable this Court to reconsider its

   previous ruling excluding Fisher’s testimony on damage to surface water and subsurface water

   on Quarles’ property from current and historic oil production facilities.

           WHEREFORE, Quarles respectfully requests this Court to reconsider its In Limine

   Order, or alternatively, to continue the Daubert Hearing of Expert J. Berton Fisher to July 27,

   2007.




   1
     Kharaka, Y.K. and Otton, J.K., 2003, Environmental Impacts of Petroleum Production: Initial Results from the
   Osage Skiatook Petroleum Environmental Research Sites, Osage County, Oklahoma: U.S. Geological Survey Water
   Resources Investigations Report 03-4260.
   2
     Id.


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                                                 Respectfully submitted,

                                                 DRUMMOND LAW, PLLC

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                                 CERTIFICATE OF MAILING

          I hereby certify that on this 2th day of July 2007, a true and correct copy of the above and
   foregoing document, was mailed electronically, to:

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